                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )       MATTICE/CARTER
                                                 )
         v.                                      )       CASE NO. 1:09-CR-98
                                                 )
 JOHN LINDER, II                                 )




                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 2,

 2009. At the hearing, defendant entered a plea of guilty to Count One of the Indictment in

 exchange for the undertakings made by the government in the written plea agreement. On the

 basis of the record made at the hearing, I find that the defendant is fully capable and competent to

 enter an informed plea; that the plea is made knowingly and with full understanding of each of

 the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; that the defendant understands the

 nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment be

 accepted, that the Court adjudicate defendant guilty of the charges set forth in Count One of the

 Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

 recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.



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        The defendant’s sentencing date is scheduled for Tuesday, February 16, 2010, at 9:00

 am.



        Dated: November 3, 2009                      s/William B. Mitchell Carter
                                                     UNITED STATES MAGISTRATE JUDGE




                                     NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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